   Case: 15-41434    Document: 00513328161 Page: 1 Date Filed: 01/04/2016
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                  United States Court of Appeals
                                FIFTH CIRCUIT
                             OFFICE OF THE CLERK
LYLE W. CAYCE                                                TEL. 504-310-7700
CLERK                                                     600 S. MAESTRI PLACE
                                                         NEW ORLEANS, LA 70130



                            January 04, 2016


Mr. David O'Toole
Eastern District of Texas, Sherman
101 E. Pecan Street
Federal Building
Room 216
Sherman, TX 75090-0000

      No. 15-41434    Kevin Miller v. Texoma Medical Center, Inc.
                      USDC No. 4:13-CV-32


Dear Mr. O'Toole,
Enclosed is a copy of the judgment issued as the mandate.


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk


                                 By: _________________________
                                 Amanda Sutton-Foy, Deputy Clerk
                                 504-310-7670
cc w/encl:
     Mr. Jimmy Derek Braziel
     Ms. Kimberly Rives Miers
   Case: 15-41434    Document: 00513328162 Page: 1 Date Filed: 01/04/2016
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         IN THE UNITED STATES COURT OF APPEALS

                       FOR THE FIFTH CIRCUIT

                             ___________________

                                No. 15-41434
                             ___________________

KEVIN MILLER,                                        A True Copy
                                                     Certified order issued Jan 04, 2016
            Plaintiff - Appellant
                                                     Clerk, U.S. Court of Appeals, Fifth Circuit
v.

TEXOMA MEDICAL CENTER, INCORPORATED,

            Defendant - Appellee

                          ________________________

            Appeal from the United States District Court for the
                    Eastern District of Texas, Sherman
                         ________________________

CLERK'S OFFICE:

      Under 5TH CIR. R. 42.3, the appeal is dismissed as of January 4, 2016,
for want of prosecution. The appellant failed to timely appellant's brief and
record excerpts.
   Case: 15-41434    Document: 00513328162 Page: 2 Date Filed: 01/04/2016
Case 4:13-cv-00032-DDB Document 47 Filed 01/04/16 Page 3 of 3 PageID #: 774




                                   LYLE W. CAYCE
                                   Clerk of the United States Court
                                   of Appeals for the Fifth Circuit


                                   By: _________________________
                                   Amanda Sutton-Foy, Deputy Clerk

                       ENTERED AT THE DIRECTION OF THE COURT
